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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

   KNAUF INSULATION, LLC, et al.,                        )
                                                         )
                                 Plaintiffs,             )
                                                         )
                            v.                           )        No. 1:15-cv-00111-TWP-MJD
                                                         )
   JOHNS MANVILLE CORPORATION, et al.,                   )
                                                         )
                                 Defendants.             )


                                                 ORDER

          This matter is before the Court on the motion of attorney David Bilsker to appear pro hac

   vice in this case. [Dkt. 1074.] In his motion, Mr. Bilsker states that he is "admitted to practice

   and in good standing (i.e., currently authorized to practice as an attorney)" in several states,

   including Michigan, where he indicates that he was admitted in 2015 and that he is "inactive."

   He also states that he has never been suspended from practice before any court. However, the

   public record from the State Bar of Michigan indicates that Mr. Bilsker was admitted to the

   Michigan bar in 2014 and that his status is "suspended for non-payment of dues."

   https://www.michbar.org/memberdirectory/detail/id=93617. This could, of course, be a mistake

   on behalf of the Michigan State Bar, or Mr. Bilsker could be unaware of his suspended status in

   Michigan. The Court takes the instant motion under advisement pending an explanation from

   Mr. Bilsker regarding this conflicting information. If no such explanation is forthcoming within

   ten days of the date of this Order, the motion will be denied.

          SO ORDERED.


          Dated: 16 MAY 2023
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